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                           EXHIBIT 1
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


 UNITED STATES OF AMERICA,
                                                      Case No. 1:20-cr-00143
        v.                                            The Honorable Judge Ellis

 ZACKARY ELLIS SANDERS,                               Motions Hearing: May 7, 2021
                                                      Trial: July 12, 2021
                              Defendant.


    NOTICE OF INTENT TO RELY ON EXPERT EVIDENCE OF DEFENDANT’S
            MENTAL CONDITION BEARING ON LACK OF GUILT

       The defendant, Zackary Ellis Sanders, by counsel, submits this Notice of Intent to Rely

on Expert Evidence of his Mental Condition Bearing on Lack of Guilt, pursuant to Rule 12.2(b)

of the Federal Rules of Criminal Procedure. Mr. Sanders intends to rely on such evidence,

including through testimony presented by Dr. Tyler Whitney, PSY.D. Dr. Whitney’s curriculum

vitae was previously provided to the government and this Court. ECF No. 282-1 (Exhibit 1 to

Second Supplement to Motion to Continue).
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                                               Respectfully submitted,


                                                          /s/
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                                                           /s/
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                                               Counsel for Defendant Zackary Ellis Sanders


                                 CERTIFICATE OF SERVICE

       I hereby certify on this 26th day of April, 2021, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to
counsel of record.

                                               /s/_____________________
                                               Nina J. Ginsberg




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